
4 U.S. 389 (____)
4 Dall. 389
Walker et al.
v.
Smith.
Supreme Court of United States.

*390 For the plaintiffs, J. Sergeant and Dallas contended.
The COURT, in their charge to the jury, expressly declared an opinion, that, on the evidence, the plaintiffs were entitled to recover the full amount of the original debt, with such reasonable compensation for the delay of payment, as the jury should think proper.
The jury, however, gave a verdict for only 468 dollars 44 cents, which was the amount of the plaintiffs' demand (after crediting the remittance) estimating the sterling money at par, allowing the defendant a commission, and deducting the interest. The jury added, that the plaintiffs should pay the costs.[(1)]
*391 The plaintiffs' counsel then moved for a new trial, because the verdict was against law, evidence, and the charge of the Court: but, after argument, the motion was over-ruled; and it was observed by WASHINGTON, Justice, that although he was not satisfied with the verdict, nor should he have assented to it as a juror; yet, the question of damages, or of interest in the nature of damages, belonged so peculiarly to the jury, that he could not allow himself to invade their province; while he felt a determination to prevent, on their part, any invasion of the judicial province of the Court.
NOTES
[(1)]  The finding of the jury, that the plaintiffs should pay the costs, was, at once, abandoned by the defendant's counsel, on general principles; but Ingersoll stated, that the first judicial law provided, that the plaintiff should not be allowed costs, if he recovered a sum less than 500 dollars; 6 vol. 16. s. 3, 1 vol. 61. s. 20. and that although the action was instituted, when the sum required, in that respect, was only 400 dollars; yet, he referred to a decision of Judge CHASE's, in the Circuit Court of Delaware, which pronounced, that the act repealing the latter provision, revived the former, and was to be applied to all suits present, or future. Dallas referred, however, to the acts of congress: 5 vol 23; s 11. 6 vol. 16. s. 4. And the COURT declared that the plaintiffs were clearly entitled to costs.

